Case 2:15-cv-01634-JRG-RSP Document 18 Filed 01/26/16 Page 1 of 1 PageID #: 51




                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION
  DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,
                                                   Civil Action No. 2:15-cv-1634-JRG-RSP
                v.
. GOPRO, INC.,

                        Defendant.


                                            ORDER

        In consideration of Plaintiff Display Technologies, LLC’s filing of a Motion to Dismiss

 Without Prejudice before an answer or motion for summary judgment has been filed by Defendant

 Gopro, Inc., the Court hereby dismisses all claims in this action against Defendant Gopro, Inc.,

 WITHOUT prejudice in accordance with Fed. R. Civ. P. 41(a), with each party to bear their own

 costs, expenses, and attorney’s fees.
         SIGNED this 3rd day of January, 2012.
       SIGNED this 26th day of January, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
